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 9
     Attorneys for Plaintiff
10   UNITED STATES OF AMERICA

11                          UNITED STATES DISTRICT COURT

12                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

13 UNITED STATES OF AMERICA,                No. 2:21-cr-00127-MCS

14             Plaintiff,                   STIPULATION RE: INVENTORY OF
                                            ESTATE
15                   v.

16 DOUGLAS CHRISMAS,

17             Defendant.

18

19        Plaintiff United States of America, by and through its counsel

20   of record, the United States Attorney for the Central District of

21   California and Assistant United States Attorneys Valerie L.

22   Makarewicz and David W. Williams, and defendant DOUGLAS CHRISMAS, by

23   and through his counsel of record, Adam H. Braun, hereby stipulate

24   to the following facts:

25        1. The following pieces of art were property of the bankruptcy

26           estate of Art and Architecture Books of the 21st Century in

27           March and April 2016:

28
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 1              a. Colony, 2002, by Tara Donovan, Pencil, 9’8” X 9’7 3/4” X

 2                 2 1/2"

 3              b. The Moment Before You Realize You Are Not Lost, 2005, by

 4                 Jonathan Monk, Mirror, 4’(D)

 5              c. Untitled (Black Light Grid Series), 1987, by Mary Corse,

 6                 Glass Microspheres in Acrylic on Canvas, 7’(H) x 7(W)

 7              d. Life Can get Heavy Mascara Shouldn’t, 1999, by Sylvie

 8                 Fleury, Neon, Dimensions Variable

 9        2. The parties further stipulate that the foregoing statement

10           may be read to the jury.

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12   Dated: October 10, 2023             Respectfully submitted,
13                                       E. MARTIN ESTRADA
                                         United States Attorney
14
                                         MACK E. JENKINS
15                                       Assistant United States Attorney
                                         Chief, Criminal Division
16

17                                       /s/ Valerie L. Makarewicz
                                         VALERIE L. MAKAREWICZ
18                                       DAVID W. WILLIAMS
                                         Assistant United States Attorneys
19
                                         Attorneys for Plaintiff
20                                       UNITED STATES OF AMERICA
21

22   Dated: October 10, 2023
23                                       /s/ Adam H. Braun(with authorization)
                                         ADAM H. BRAUN
24                                       Attorney for Defendant
                                         DOUGLAS CHRISMAS
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